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ATTORNEYS FOR COLLIN COUNTY
TAX ASSESSOR/COLLECTOR

                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

     In re:                                                    §        Chapter 7
                                                               §
     SAMUELS JEWELERS, INC.1                                   §        Case No. 18-11818 (CSS)
                                                               §
              Debtor.                                          §
                                                               §


                    THE COLLIN COUNTY TAX ASSESSOR/COLLECTOR’S
                   LIMITED OBJECTION TO THE TRUSTEE’S MOTION FOR
          ORDER APPROVING STIPULATION REGARDING TAXING AUTHORITY CLAIMS

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         NOW COMES The Collin County Tax Assessor/Collector (hereinafter “Collin County”) and files

its Limited Objection (the “Objection”) to the Trustee’s Motion for Order Approving Stipulation Regarding

Taxing Authority Claims (the “Motion”) [Docket No. 925] and respectfully shows the court as follows:

                                     SUMMARY OF LIMITED OBJECTION

              Pursuant to Texas Property Tax Code §§ 32.01 and 32.05, Collin County has a perfected lien

on all of Debtor’s business personal property. Collin County files this Limited Objection to preserve its lien

rights including its rights to any such payments and/or pro-rata distribution from the Tax Carve Out.2

                                            RELEVANT BACKGROUND


         1.       On August 7, 2018, the Debtor filed a voluntary petition for relief under Chapter11 of Title

11 of the United States Code (the “Bankruptcy Code”).3


1
  The last four digits of the Debtor’s taxpayer identification number are 6316 and its address is 2914 Montopolis Drive, Suite
200, Austin, Texas 78741
2
  All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
3
   11 U.S.C. § 101 et seq. (the “Bankruptcy Code”).
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          2.      On April 5, 2019, the Debtor’s Chapter 11 case was converted to a case under Chapter 7 of

the Bankruptcy Code.

          3.      Prior to conversion, on September 10, 2018, Collin County filed its proof of claim (Claim

No. 95) in the amount of $10,468.32 (the “Collin County Proof of Claim”). See Collin County Proof of

Claim attached hereto as Exhibit A and incorporated herein for all purposes.

          4.      Collin County Tax Assessor/Collector is a political subdivision of the State of Texas and, as

such, is authorized to levy and assess ad valorem taxes on the value of property located within its taxing

jurisdiction as of January 1 of each year.4

          5.      Neither the Debtor nor the Chapter 7 Trustee (following conversion) has objected to the

Collin County Proof of Claim.

          6.      On July 30, 2020, the Trustee filed the Motion.

          7.      By the Motion, the Trustee seeks, among other things, the entry of a stipulation that will

“result in the finality of the claims of the Taxing Authorities.”5

          8.      The Motion does not include any provision for Collin County’s Claim, therefore, Collin

County files this Limited Objection.

                                           LIMITED OBJECTION

          9.      Pursuant to the Texas Property Tax Code §§ 32.01 and 32.05, Collin County has a first

priority secured lien against the business personal property of Debtor. “Texas imposes a property tax, which

is secured by a “tax lien” that automatically attached to taxable property each year “in favor of each taxing

unit having power to tax the property.”” Billings v. Propel Fin. Servs., L.L.C., 821 F.3d 608, 610 (5th Cir.

2016). Specifically, § 32.01 of the Texas Property Tax Code provides:

                   (a) On January 1 of each year, a tax lien attaches to property to secure the
                       payment of all taxes, penalties and interest ultimately imposed for the
                       year…

                   (b) A tax lien on inventory, furniture, equipment, or other personal
                       property is a lien in solido and attaches to all inventory, furniture,
                       equipment, and other personal property that the property owner owns
                       on January 1 of the year the lien attaches or that the property owner
4
    TEX. PROP. TAX CODE § 32.01.
5
    See Motion, at 4.
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                       subsequently acquires.

                 ...

                 (d) The lien under this section is perfected on attachment and, except as
                     provided by Section 32.03(b), perfection requires no further action by
                     the taxing unit.

TEX. PROP. TAX CODE § 32.01.

        10.     Moreover, § 32.05 of the Texas Property Tax Code provides that such tax lien takes priority

and prevails, regardless of whether the debt, lien, future interest, or other encumbrance existed before

attachment of the tax lien. TEX. PROP. TAX CODE § 32.05(a)-(b). Therefore, pursuant to the Texas Property

Tax Code and relevant case law, the tax lien arises on January 1 of each tax year and “floats” to after

acquired property. See City of Dallas v. Cornerstone Bank, 879 S.W.2d 264, 271 (Tex. App. – Dallas 1994,

no writ). The tax lien is a lien in solido and is a lien of all personal property of the Debtor. In re Universal

Seismic, 288 F.3d 205, 208 (5th Cir. 2002). The tax lien is also unavoidable. In re: Winns Stores, 177 B.R.

253, 258 (Bankr. W.D. Tex. 1995).

        11.     Collin County files this Limited Objection to preserve its lien rights including its rights to

any such payments and/or pro-rata distribution from the Tax Carve Out.

        WHEREFOR, PREMISES CONSIDERED, Collin County prays that this Court deny the

Trustee’s Motion or, in the alternative, require the Trustee to include and pay Collin County’s Claim in a

manner consistent with the other Taxing Authorities’ listed in the Stipulation, and grant it any and all relief

to which it is justly entitled.



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                                                           Respectfully submitted,


                                                           ABERNATHY, ROEDER, BOYD
                                                           &HULLETT, P.C.


                                                           /s/ Paul M. Lopez
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                                                           ATTORNEYS FOR COLLIN COUNTY
                                                           TAX ASSESSOR/COLLECTOR




                                    CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was served on this 13th day
of August, 2020, on all parties requesting service via the Court’s ECF system.

                                                   /s/ Paul M. Lopez
                                                   Paul M. Lopez
